                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF WISCONSIN

ESTATE OF DEAN HENRY HOFFMANN,

      Plaintiff,

 v.                                                 Case No. 24-CV-160

KEVIN A. CARR, JARED HOY, RANDALL HEPP,
YANA PUSICH, DR. KRISTINA DEBLANC,
NATHAN PAC, JOHN DOE #1, and
JOHN DOE #2,

      Defendants.


                                      ORDER


      On December 20, 2024, the defendants filed a motion for judgment on the

pleadings on the first amended complaint, asking the court to dismiss the official

capacity claims and Count I under Monell v. Dept. of Social Servs. of City of New

York, 436 U.S. 658 (1978). (ECF No. 29.) In response, the plaintiff filed a motion to

amend/correct the complaint. (ECF No. 32.) In their memorandum of law in support

of their motion to amend, the plaintiff stated that shortly after the defendants filed

their motion for judgment on the pleadings, the parties held a telephone conference

wherein the defendants agreed to allow the plaintiff to file a second amended

complaint “to address the alleged deficiencies in Plaintiff’s amended complaint.”

(ECF No. 33 at 2.) According to the defendants, this included the plaintiff’s




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agreement to dismiss all official capacity claims and the Monell liability claim. (ECF

No. 39 at 4.)

      On February 24, 2025, the defendants filed a motion to partially dismiss the

plaintiff’s second amended complaint, requesting the court dismiss the purported

official capacity claims; the Eighth Amendment claims brought under a theory of

supervisor liability against Kevin A. Carr, Jared Hoy, Randall Hepp, Yana Pusich,

and Dr. Kristina DeBlanc; and the Wisconsin state law claims because the plaintiff

did not comply with the notice requirements under Wis. Stat. § 893.82. This order

addresses these motions.

                MOTION TO AMEND THE COMPLAINT (ECF NO. 32)

      The plaintiff states that it received the defendants’ written consent to amend

the complaint, as required by Fed. R. Civ. P. 15(a)(2). (ECF No. 33 at 2.) As such,

the court grants the plaintiff’s motion to amend the complaint. The second amended

complaint (ECF No. 32-1) is now the operative complaint.

                  JUDGMENT ON THE PLEADINGS (ECF NO. 29)

      Because the plaintiff’s second amended complaint supersedes the first

amended complaint, which is the subject of the defendants’ motion for judgment on

the pleadings, the court denies the defendants’ motion for judgment on the

pleadings as moot.

                   MOTION FOR PARTIAL DISMISSAL
           OF THE SECOND AMENDED COMPLAINT (ECF NO. 35)




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       The defendants filed a motion to dismiss pursuant to Federal Rule of Civil

Procedure 12(b)(6) asserting that the following claims must be dismissed: the

plaintiff’s official capacity claims; the claims pursuant to the Eighth Amendment

under a theory of supervisory liability against Carr, Hoy, Hepp, Pusich, and

DeBlanc; and the claims brought pursuant to Wisconsin State Law. They do not

request that the Eighth Amendment claims against Nathan Pac and the two John

Doe defendants be dismissed.

       1. Facts

       On March 29, 2023, Hepp implemented a lockdown at Waupun because there

had been several incidents of prisoners breaking safety rules. (ECF No. 32-1, ¶¶ 69,

70.) On April 10, 2023, the now-deceased prisoner whose death by suicide is the

subject of this lawsuit, Dean Henry Hoffmann, transferred to Waupun. (Id., ¶ 62.)

Upon his arrival, the plaintiff states Hoffmann “was never given a psychological

exam due to the lockdown restrictions that were in place.” (Id., ¶ 72.) Hoffmann also

was not receiving his mental health medication. (Id., ¶¶ 73–74.) A little more than a

month after his arrival, on approximately May 18, 2023, Hoffmann still had not

been   seen   by   psychological    services       despite   Hoffmann   “consistently   and

continuously ask[ing] for medical treatment and []displaying serious symptoms of

mental illness, including but not limited to severe anxiety, paranoia, pressured

speech, poor judgment.” (Id., ¶¶ 77–78.) Finally on June 20, 2023, Hoffmann refused

to go back into his cell because he was afraid that his cellmate was stealing his

property and that his cellmate would hurt him. (Id., ¶¶ 79–81.) Sergeant Schuett in

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consultation with Captain Pawylyk placed Hoffmann in the Restricted Housing

Unit (RHU) for refusing to lock into his cell. (Id., ¶¶81–85.) The plaintiff asserts

that jail staff failed to fill out the proper forms and conduct the proper reviews and

evaluations before placing Hoffmann in solitary confinement. (Id., ¶¶ 91–97.)

       On June 24, 2023, an unidentified nurse conducted a visual observation of

Hoffmann in RHU. (Id., ¶ 98.) Hoffmann had yet to receive a psychological exam.

(Id., ¶ 99.) On June 26, 2023, Hoffmann requested his medicine and expressed

frustration with the inconsistent manner in which his medication was being

administered. (Id., ¶ 100.) Hoffmann also allegedly had been asking (unidentified)

staff to see a psychiatrist, telling them he was hearing voices and could not sleep.

(Id., ¶ 104.) Hoffmann also told staff that the voices were telling him to kill himself.

(Id., ¶ 105.)

       On June 27, 2023, Pusich, in her capacity as Security Director, reviewed the

report detailing the June 20, 2023, incident which caused Hoffmann to end up in

the RHU. (Id., ¶ 108.) In her written review of the incident report, Pusich noted

that Hoffmann created “a risk of serious disruption at the facility” and checked the

box noting that Hoffmann needed “[p]sychological services input for serious

mentally ill inmate.” (Id., ¶ 110.) The plaintiff alleges that other than checking the

box noting psychological services were necessary, Pusich did not do anything else to

ensure that Hoffmann received mental health care. (Id., ¶ 111.)




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       On June 29, 2023, at approximately 6:21a.m., a guard failed to obtain a

visual of Hoffmann in his cell. (Id., ¶ 115.) At 6:45a.m., Hoffmann was found dead in

his cell. (Id., ¶ 116.)

       At some point on June 26, 2023, Dr. DeBlanc had an interaction with

Hoffmann, but the second amended complaint does not provide details regarding

the nature of this interaction. (ECF No. 32-1, ¶ 128.) The plaintiff states that Dr.

DeBlanc did not write a report regarding her June 26 interaction with Hoffmann

until three days after Hoffmann was found dead. (Id.) The plaintiff also asserts that

Dr. DeBlanc “was aware that inmates at Waupun were not receiving proper medical

care, including psychological services, yet did nothing to ensure that inmates were

receiving the medical care they needed.” (Id., ¶¶ 43–44.)

       2. Legal Standard

       “To survive a motion to dismiss under Rule 12(b)(6), a complaint must ‘state a

claim for relief that is plausible on its face.’ . . . Factual allegations are accepted as

true at the pleading stage, but ‘allegations in the form of legal conclusions are

insufficient to survive a Rule 12(b)(6) motion.’” Adams v. City of Indianapolis, 742

F.3d 720, 728–29 (7th Cir. 2014) (citations omitted). The allegations must “permit

the court to infer more than the mere possibility of misconduct.” Olson v.

Champaign Cty., Ill., 784 F.3d 1093, 1099 (7th Cir. 2015) (citations omitted). At this

stage, the court should not ask whether the allegations actually occurred but

instead should ask whether they could occur. Id.



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      To state a claim for relief under 42 U.S.C. § 1983, a plaintiff must allege that

someone deprived him of a right secured by the Constitution or the laws of the

United States, and that whoever deprived him of this right was acting under color

of state law. D.S. v. E. Porter Cty. Sch. Corp., 799 F.3d 793, 798 (7th Cir. 2015)

(citing Buchanan–Moore v. Cty. of Milwaukee, 570 F.3d 824, 827 (7th Cir. 2009)).

             2.1. Official Capacity Claims

      The defendants state that the plaintiff brings claims against them in their

individual and official capacities. (ECF No. 32-1, caption, ¶ 69.) In response, the

plaintiff states that they intended to merely allege that the defendants “were acting

under the color of state law and in the scope of their employment at the time of the

alleged wrongful acts.” (ECF No. 38 at 9.) The plaintiff did not intend to make

claims against the defendants in their official capacities. (Id.) As such, the court will

grant the motion to dismiss as to the official capacity claims. Nothing in the second

amended complaint shall be seen as bringing an official capacity claim. The plaintiff

should take care when using terms such as “official capacity,” which typically

denote a specific type of claim under § 1983.

             2.2 Supervisor Liability Claims

      The defendants assert that plaintiff failed to allege Eighth Amendment

claims against Carr, Hoy, Hepp, Pusich, and Dr. DeBlanc because they cannot be

held liable under a theory of supervisor liability. In the second amended complaint,

plaintiff asserts two sets of purported supervisor liability claims:claims against

Carr, Hoy, and Hepp for instituting and/or permitting a lockdown, which restricted

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prisoners’ access to mental health resources and care and creating unsafe

conditions, (ECF No. 32-1, ¶¶ 16–20; 64–65, 140–142); and claims against Pusich

and Dr. DeBlanc for failing to ensure that Hoffmann received appropriate

psychological care in the days before his suicide, (Id. ¶¶ 108–111, 128).

                    2.2.1 Hepp, Carr, and Hoy

      The plaintiff asserts that because Hepp was responsible for the day-to-day

operations at Waupun, he was also responsible to ensure that Waupun’s staff was

appropriately supervised. (ECF No. 32-1, ¶ 64.) Similarly, plaintiff alleges that Carr

and Hoy, as Hepp’s supervisors, were responsible for ensuring that Hepp “was

properly doing his job, and that the inmates under his control and supervision were

properly cared for.” (Id., ¶ 65.) The plaintiff also alleges that Hepp, Carr, and Hoy,

“had actual or constructive knowledge that their subordinates were engaged in

conduct that posed a pervasive and unreasonable risk of constitutional injury.” (Id.,

¶ 142.) In other words, Hepp, Carr, and Hoy, had policies, procedures, and/or

customs    when    dealing   with    overcrowding     and   understaffing,   including

implementing a lockdown, that they knew caused poor prison conditions and

rendered medical care, including psychological care, unavailable.

      Section 1983 “creates a cause of action based on personal liability and

predicated upon fault; thus, liability does not attach unless the individual defendant

caused or participated in a constitutional violation.” Hildebrant v. Ill. Dep’t of Nat.

Res., 347 F.3d 1014, 1039 (7th Cir. 2003) (quoting Vance v. Peters, 97 F.3d 987, 991

(7th Cir. 1996)). Because § 1983 makes public employees liable “for their own

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misdeeds but not for anyone else’s,” Burks v. Raemisch, 555 F.3d 592, 596 (7th

Cir.2009), a plaintiff must specifically allege what each individual defendant did (or

did not do) to violate his constitutional rights. “The doctrine of respondeat superior

does not apply to § 1983 actions; thus to be held individually liable, a defendant

must be personally responsible for the deprivation of a constitutional right.”

Sanville v. McCaughtry, 266 F.3d 724, 741 (7th Cir. 2001) (quotations omitted). “A

defendant will be deemed to have sufficient personal responsibility if he directed the

conduct causing the constitutional violation, or if it occurred with his knowledge or

consent.” Id. (quotation omitted). However, the individual defendant “does not have

to have participated directly in the deprivation.” Id. Liability may be found “where

an official knows about unconstitutional conduct and facilitates, approves,

condones, or ‘turns a blind eye.’” Perez v. Fenogolio, 792 F.3d 768, 781 (7th Cir.

2015) (quoting Vance, 97 F.3d at 992–93).

       The plaintiff argues that Hepp, Carr, and Hoy, by implementing certain

policies   and   procedures   as   well   as    having   knowledge,    generally,   about

unconstitutional staff behavior and systemic deficiencies, makes them liable under

a theory of supervisor liability for the Eighth Amendment violations against

Hoffmann. However, having general knowledge about unconstitutional conditions

and systemic deficiencies is insufficient to hold them personally liable for

Hoffmann’s death by suicide. See Ollison v. Gossett, Case No. 23-1125, 2025 WL

6520382, at *5 (7th Cir. May 7, 2025) (quoting Steidl v. Gramley, 151 F.3d 739 (7th

Cir. 1998) (“[W]here the plaintiff alleged that the warden was ‘ultimately in charge

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of, and responsible for, all day-to-day operations,’ . . . such a general allegation

fail[s] to state a claim of systemic deficiencies.”). The plaintiff must allege that

Hepp, Carr, and Hoy knew the impact their policies and the actions of their staff

had upon (or would have upon) Hoffmann and then disregarded that risk. nId. at

*7(“[A] public officer, or a private person acting in the name of the state, can be held

responsible for allowing systemic deficiencies to fester, if the deficiencies, left

unchanged, will foreseeably result in injury to the plaintiff.”) (emphasis added).

       While the plaintiff cites both Perez (specifically discussing Gentry v.

Duckworth, 65 F.3d 555 (7th Cir. 1995)), and Sanville in support of their argument

that broad general knowledge of unconstitutional conditions and systemic

deficiencies is sufficient, their application of these cases misses one key element—in

all three of those cases, the plaintiff communicated with the wardens or supervisors

about their individual and specific issues or that the wardens or supervisors

actively knew about the plaintiff’s specific issues. In Perez, while applying Gentry,

the Seventh Circuit Court of Appeals noted that the plaintiff’s complaint “alleges

that the named defendants each obtained actual knowledge of [the plaintiff’s]

objectively serious medical condition and inadequate medical care through [the

plaintiff’s] coherent and highly detailed grievances and other correspondences.”

Perez, 792 F.3d at 782. The Court further noted that this was similar to the plaintiff

in Gentry, who also alerted supervisory staff by sending many letters describing his

issues. Id. In Sanville, the Seventh Circuit declined to find that the plaintiff

sufficiently alleged that the wardens could be held liable because merely alleging a

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systemic failure by the staff did not amount to alleging that the wardens “turned a

blind eye to any particular conduct” of the staff defendants. Sanville, 266 F.3d at

741. Because the plaintiff’s second amended complaint does not allege that Hepp,

Carr, or Hoy had knowledge of Hoffmann’s specific situation, it does not state an

Eighth Amendment claim under a theory of supervisor liability. The Eighth

Amendment claims against Hepp, Carr, and Hoy are dismissed.

                    2.2.2 Pusich and Dr. DeBlanc

      The plaintiff asserts that Pusich should be held liable under a theory of

supervisor liability because all she did was check a box stating that psychological

services were required. According to the plaintiff, Pusich should have followed up

and ensured that Hoffmann got the needed mental health care. These allegations do

not indicate whether Pusich was aware that staff were ignoring Hoffmann’s

significant mental health needs or that she knew Hoffmann was not receiving

mental health services. At most the allegations state that Pusich was aware that

Hoffmann needed mental health care at that time. “Public officials do not have a

free-floating obligation to put things to rights . . . . Bureaucracies divide tasks; no

prisoner is entitled to insist that one employee do another’s job.” Burks, 555 F.3d at

595. Pusich, as Security Director, did not have the responsibility to ensure that he

received the mental health care she recommended. Unless the plaintiff alleges that

she knew that staff was acting with deliberate indifference in not providing mental

health care or ignoring her recommendation but did nothing, the plaintiff does not



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state a claim. In short, the plaintiff’s second amended complaint does not allege

enough to state a supervisory claim against Pusich.

      Similarly, the second amended complaint also does not allege enough to hold

Dr. DeBlanc liable under a theory of supervisor liability. At most, the second

amended complaint states that at some point on June 26, 2023, before Hoffmann’s

death, Dr. DeBlanc interacted with Hoffmann. There are no allegations regarding

the nature of this interaction; whether Hoffmann requested care or services from

Dr. DeBlanc; whether Hoffmann complained to her about his issues; or whether Dr.

DeBlanc examined him. The plaintiff alleges only that Dr. DeBlanc did not file her

report about interacting with Hoffmann until three days after his death, and that

Dr. DeBlanc, generally, was aware that prisoners were not receiving adequate

mental health services. As stated above, general knowledge about potential

unconstitutional conditions or systemic deficiencies is insufficient. The plaintiff

needed to allege that Dr. DeBlanc was aware of specific violations of Hoffmann’s

constitutional rights or that because of the deficiencies injury to Hoffmann was

foreseeable. Simply alleging that she interacted with Hoffmann before his death

without more detail does not establish that she had this knowledge. Also, it is

unclear from the second amended complaint what impact filing her report three

days after his death had. The allegation does not inform a claim of supervisor

liability, nor does it sufficiently allege personal liability for a deliberate indifference

claim against Dr. DeBlanc. While the Federal Rule of Civil Procedure 8(a)(2)

requires that a plaintiff give only “a short and plain statement of the claim,” and

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“specific facts are not necessary,” the allegations still have to “give the defendant

fair notice of what the claim is and the grounds upon which it rests.” Erickson v.

Pardus, 551 U.S. 89, 93 (2007) (quoting Twombly, 550 U.S. at 55 (internal citations

omitted)). The plaintiff’s allegations of supervisor liability are insufficient and the

supervisor liability claims against Pusich and Dr. DeBlanc are dismissed.

                2.3 Wisconsin State Law Claims

      The plaintiff concedes that they did not timely file a notice of claim with the

Wisconsin Attorney General for all but their count of Gross Negligence (Count II),

which they now contend is a state law medical malpractice claim. As such, all

remaining state law claims except for Count II will be dismissed.

      As for Count II, the plaintiff argues that the Wisconsin state law notice

statute, Wis. Stat. § 893.82(5m) provides an exception to the notice requirement for

medical malpractice claims. Because the second amended complaint alleges that the

defendants owed a duty to provide reasonable medical care, and they breached that

duty, the plaintiff argues they have stated a medical malpractice claim. (ECF No.

32-1, ¶ 153.)

      Count II names all defendants, but only one of those defendants is a medical

professional—Dr. DeBlanc. “Non-doctors may not be sued for medical malpractice

for the purposes of the notice statute.” Tackett v. Jess, 853 Fed. App’x 11, 14 (7th

Cir. 2021). As such, Count II as to every defendant except Dr. DeBlanc is dismissed.

      In the case of Dr. DeBlanc, the defendants argue that she is only a

“psychological associate,” so the exception also does not apply to her. The

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defendants do not explain why having “associate” in one’s job title means that Dr.

DeBlanc is not considered a doctor in this instance. Regardless, because the court

dismissed the only federal claim against Dr. DeBlanc, it declines to take

supplemental jurisdiction over the state law claim against her. See 28 U.S.C.

§1367(c); Bailey v. City of Chicago, 779 F.3d 689, 696 (7th Cir. 2015).

                                   CONCLUSION

      The court grants the plaintiff’s motion for leave to amend the complaint, and

the second amended complaint is now the operative complaint. Because the first

amended complaint is no longer the applicable complaint, the court denies the

defendants’ motion for judgment on the pleadings as moot. The court grants the

defendants’ partial motion to dismiss. The Eighth Amendment supervisor liability

claims against Hepp, Carr, Hoy, Pusich, and Dr. DeBlanc are dismissed. All the

state law tort claims are dismissed because the defendants did not comply with the

Wisconsin state law notice statute. Because there are no remaining claims against

Hepp, Carr, Hoy, Pusich, and Dr. DeBlanc, they are dismissed from the case. The

only remaining claim is the Eighth Amendment claim against Nathan Pac and the

two John Doe officers. The court will set a scheduling conference to reset the

remaining deadlines..

      THEREFORE, IT IS ORDERED that the plaintiff’s motion for leave to

amend the complaint (ECF No. 32) is GRANTED. The second amended complaint

(ECF No. 32-1) is now the operative complaint.



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      IT IS FURTHER ORDERED that the defendants’ motion for judgment on

the pleadings (ECF No. 29) is DENIED as moot.

      IT IS FURTHER ORDERED that the defendants’ motion to partially

dismiss the plaintiff’s second amended complaint (ECF No. 35) is GRANTED. To

the extent the second amended complaint brings official capacity claims, they are

DISMISSED. The Eighth Amendment claims under a theory of supervisor liability

against Kevin A. Carr, Jared Hoy, Randall Hepp, Yana Pusich, and Dr. Kristina

DeBlanc are DIMISSED. The Wisconsin state law tort claims are DISMISSED.

Because there are no remaining claims against Carr, Hoy, Hepp, Pusich, and Dr.

DeBlanc, they are DISMISSED.



      Dated at Milwaukee, Wisconsin this 9th day of May, 2025.


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